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 5

 6

 7                   IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,     )          CASE NO. 2:10-cr-485
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )          STIPULATION AND
                                   )          ORDER CONTINUING RESTITUTION
13   MICHAEL JEROME TUCKER,        )          HEARING
                                   )
14                                 )
                                   )
15                  Defendant.     )
     ______________________________)
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17
          The parties request that the restitution hearing in this
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     case be continued from December 8, 2011 to December 15, 2011 at
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     9:00 a.m.   The parties anticipate that prior to the date of that
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     hearing, they will submit a stipulation regarding the restitution
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     owed in this case that will obviate the need for a full hearing.
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23
                                            Respectfully Submitted,
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                                            BENJAMIN B. WAGNER
25                                          United States Attorney
26

27   DATE: December 8, 2011           By:    /s/ Jared Dolan
                                            JARED C. DOLAN
28                                          Assistant U.S. Attorney


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 2
     DATE: December 8, 2011                  /s/ Jared Dolan for
 3                                          MATTHEW SCOBLE
                                            Attorney for Defendant
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 5
          IT IS SO ORDERED.
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 7   Dated: December 8, 2011

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                                      _____________________________
 9
                                      MORRISON C. ENGLAND, JR.
10                                    UNITED STATES DISTRICT JUDGE

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